 1. John E. Casperson
    HOLMES WEDDLE & BARCOTT, P.C.
 2. 999 Third Avenue, Suite 2600
    Seattle, Washington 98104
 3. Telephone: (206) 292-8008
    Facsimile: (206) 340-0289
 4. Email:      jcasperson@hwb-law.com
 5. Attorneys for Plaintiff

 6.
                              IN THE UNITED STATES DISTRICT COURT
 7.
                                     FOR THE DISTRICT OF ALASKA
 8.
    KATHRYN GILES, as personal representative
 9. of the Estate of EUGENE CAMERON,                             IN ADMIRALTY
10.                                            Plaintiff,
               v.                                                Case No.
11.
    AMFAC FOODS, INC.,
12. AMFAC SEAFOODS, INC.,
    and SEA GALLEY STORES, INC.,
13.
                                               Defendants.
14.
                                     COMPLAINT (46 U.S.C. § 31343)
15.

16.            COMES NOW the Plaintiff Kathryn Giles, as personal representative of the

17. Estate of Eugene Cameron, by and through her attorneys, Holmes Weddle & Barcott,

18. P.C., and complains against Defendants Amfac Foods, Inc. (“Amfac Foods”), Amfac

19.
      Seafoods, Inc. (“Amfac Seafoods”), and Sea Galley Stores, Inc. (“Sea Galley”),
20.
      (collectively, “Defendants”) as set forth below.
21.
                                               JURISDICTION
22.

23.       1.        Jurisdiction is based upon 28 U.S.C. § 1333, admiralty, and 28 U.S.C. § 1331,

24.     federal question, specifically 46 U.S.C. § 31343. This is an admiralty or maritime claim

25.
      COMPLAINT
26. Kathryn Giles, as personal representative of the Estate of              HOLMES WEDDLE & BARCOTT, PC
      Eugene Cameron, v. Amfac Foods, Inc., et al.                               999 THIRD AVENUE, SUITE 2600
                                                                                   SEATTLE, WA 98104-4011
      Case No.                         - Page 1 of 5                              TELEPHONE (206) 292-8008
                                                                                      FAX (206) 340-0289
         Case 3:14-cv-00070-JWS Document 1 Filed 04/09/14 Page 1 of 5
 1.     within the meaning of Fed. R. Civ. P. 9(h).
 2.
          2.       Plaintiff Kathryn Giles is a resident of the State of Alaska and is the personal
 3.
        representative of the Estate of Eugene Cameron (the “Estate”).
 4.
          3.       The Estate is owner of the vessel JOANN MARIE, Official Number 533613
 5.
        (the “Vessel”).
 6.

 7.       4.       Plaintiff seeks a declaration that the Vessel is not subject to certain maritime

 8.     liens asserted by Defendants as set forth more fully below.
 9.       5.       The Vessel is in Seldovia, in the District of Alaska.
10.
                                          COUNT I: AMFAC FOODS
11.
                                                (No Maritime Lien)
12.
          6.       Amfac Foods claims a maritime lien in connection with a preferred mortgage
13.

14.     executed on July 14, 1978 on the Vessel by Eugene Cameron to mortgagee Amfac

15.     Foods, as set forth more fully in the Preferred Mortgage of Vessel attached as

16.     Exhibit A.
17.       7.       The preferred mortgage amount claimed by Amfac Foods under the July 14,
18.
        1978 mortgage against the Vessel is $90,000.00.
19.
          8.       The July 14, 1978 mortgage against the Vessel was recorded at Book PM 31,
20.
        Instrument No. 864. A copy of the General Index or Abstract of Title is attached as
21.

22.     Exhibit B.

23.       9.       Amfac Foods also claims a maritime lien in connection with a preferred

24.     mortgage executed on February 5, 1979 on the Vessel by Eugene Cameron to
25.
      COMPLAINT
26. Kathryn Giles, as personal representative of the Estate of             HOLMES WEDDLE & BARCOTT, PC
      Eugene Cameron, v. Amfac Foods, Inc., et al.                              999 THIRD AVENUE, SUITE 2600
                                                                                  SEATTLE, WA 98104-4011
      Case No.                         - Page 2 of 5                             TELEPHONE (206) 292-8008
                                                                                     FAX (206) 340-0289
         Case 3:14-cv-00070-JWS Document 1 Filed 04/09/14 Page 2 of 5
 1.     mortgagee Amfac Foods, as set forth more fully in the Preferred Mortgage of Vessel
 2.
        attached as Exhibit C.
 3.
          10.      The preferred mortgage amount claimed by Amfac Foods under the February
 4.
        5, 1979 mortgage against the Vessel is $85,000.00.
 5.
          11.      The February 5, 1979 mortgage against the Vessel was recorded at Book PM
 6.

 7.     33, Instrument No. 200. A copy of the General Index or Abstract of Title is attached as

 8.     Exhibit B.
 9.       12.      Plaintiff, on information and belief, alleges that the preferred mortgage of July
10.
        14, 1978 and the preferred mortgage of February 5, 1979 are of no remaining force and
11.
        effect or have been paid and satisfied.
12.
          13.      Amfac Foods’ claims are without merit.
13.

14.       14.      Amfac Foods’ claims of maritime lien in the form of preferred mortgages are

15.     a cloud on the title to the Vessel and impair the use and marketability of the Vessel.

16.                                    COUNT II: AMFAC SEAFOODS
17.                                             (No Maritime Lien)
18.
          15.      Amfac Seafoods claims a maritime lien for fuel, services, and other
19.
        necessaries supplied to the Vessel.
20.
          16.      Amfac Seafoods filed a Notice of Claim of Maritime Lien against the Vessel
21.

22.     with the United States Coast Guard and recorded on September 30, 1983, at Book CL 1,

23.     Instrument No. 142, as set forth more fully in the General Index or Abstract of Title

24.     attached as Exhibit B.
25.
      COMPLAINT
26. Kathryn Giles, as personal representative of the Estate of          HOLMES WEDDLE & BARCOTT, PC
      Eugene Cameron, v. Amfac Foods, Inc., et al.                            999 THIRD AVENUE, SUITE 2600
                                                                                SEATTLE, WA 98104-4011
      Case No.                         - Page 3 of 5                           TELEPHONE (206) 292-8008
                                                                                   FAX (206) 340-0289
         Case 3:14-cv-00070-JWS Document 1 Filed 04/09/14 Page 3 of 5
 1.       17.      The maritime lien amount claimed by Amfac Seafoods is $83,000.00.
 2.
          18.      Plaintiff, on information and belief, alleges that all sums due as set forth in the
 3.
        Notice of Claim of Maritime Lien have been paid.
 4.
          19.      Amfac Seafoods’ claim is without merit.
 5.
          20.      Amfac Seafoods’ Notice of Claim of Maritime Lien is a cloud on the title to
 6.

 7.     the Vessel and impairs the use and marketability of the Vessel.

 8.                                       COUNT III: SEA GALLEY
 9.                                             (No Maritime Lien)
10.
          21.      Sea Galley claims a maritime lien in connection with a preferred mortgage
11.
        that was executed on October 1, 1984 on the Vessel by Eugene Cameron to mortgagee
12.
        Sea Galley, as set forth more fully in the Preferred Mortgage of Vessel attached as
13.

14.     Exhibit D.

15.       22.      The preferred mortgage amount claimed by Sea Galley against the Vessel is

16.     $40,089.14.
17.       23.      The preferred mortgage against the Vessel was recorded at Book PM 51,
18.
        Instrument No. 1373. A copy of the General Index or Abstract of Title is attached as
19.
        Exhibit B.
20.
          24.      Plaintiff, on information and belief, alleges that the preferred mortgage is of
21.

22.     no remaining force and effect or has been paid and satisfied.

23.       25.      Sea Galley’s claim is without merit.

24.       26.      Sea Galley’s claim of maritime lien in the form of a preferred mortgage is a
25.
      COMPLAINT
26. Kathryn Giles, as personal representative of the Estate of           HOLMES WEDDLE & BARCOTT, PC
      Eugene Cameron, v. Amfac Foods, Inc., et al.                              999 THIRD AVENUE, SUITE 2600
                                                                                  SEATTLE, WA 98104-4011
      Case No.                         - Page 4 of 5                             TELEPHONE (206) 292-8008
                                                                                     FAX (206) 340-0289
         Case 3:14-cv-00070-JWS Document 1 Filed 04/09/14 Page 4 of 5
 1.     cloud on the title to the Vessel and impairs the use and marketability of the Vessel.
 2.
               WHEREFORE, Plaintiff prays that the Court declare and award as follows:
 3.
         1.     Declare that the Vessel is not subject to any maritime lien in favor of any
 4.
        Defendant.
 5.
         2.     An award of attorney fees and costs incurred in bringing this action.
 6.

 7.      3.     Enter such other and further relief as the court deems reasonable and just.

 8.            DATED this 8th day of April, 2014.
 9.                                                             HOLMES WEDDLE & BARCOTT, P.C.
10.
                                                                  s/ John E. Casperson
11.                                                             John E. Casperson, ABA #7910076
                                                                999 Third Avenue, Suite 2600
12.                                                             Seattle, Washington 98104
                                                                Telephone: (206) 292-8008
13.                                                             Facsimile: (206) 340-0289
                                                                Email:       jcasperson@hwb-law.com
14.                                                             Attorneys for Plaintiff

15.

16.
17.

18.

19.

20.

21.

22.

23.
      G:\6074\27839\Pleadings\Draft\Complaint A85204_0414.doc
24.

25.
      COMPLAINT
26. Kathryn Giles, as personal representative of the Estate of                  HOLMES WEDDLE & BARCOTT, PC
      Eugene Cameron, v. Amfac Foods, Inc., et al.                                   999 THIRD AVENUE, SUITE 2600
                                                                                       SEATTLE, WA 98104-4011
      Case No.                         - Page 5 of 5                                  TELEPHONE (206) 292-8008
                                                                                          FAX (206) 340-0289
         Case 3:14-cv-00070-JWS Document 1 Filed 04/09/14 Page 5 of 5
